Case 1:07-cv-00541-LG-JMR Document 43-6 Filed 03/05/08 Pagelof8

LAW OFFICES OF

“DUKES, DUKES, KEATING & FANECA, P.A.

2909 13” Street, Sixth Fioor

GULFPORT, Mississipri 39501
WILLIAM F. DUKES,

WALTER W. DUKES
HUGH D. KEATING (1927 - 2003}
CY FANECA
PHILLIP W. JARRELL* . P.O. DRAWER W
W. EDWARD HATTEN GULFPORT, Ms 39502
TRACE D.MCRANEY TELEPHONE
. LONG
BOBBYR. 228-868-1114
FAX
JE'NELL 8. BLUM** 228-863-2886
DAVID N. DUHE
-  HALEYN. BROOM
AMANDA M. SCHWARTZ*** February 22, 2008
JON S. TINER

‘also Itcensed In TX
**aiso ilcensed In CA
***also Itcensed In NC, FL

VIA FACSIMILE - (865-0337) and U.S. Mail

Michael Crosby, Esq. .
2111 25" Avenue
Gulfport, MS 39501

Re: —_ Roderick Clark Miller v. Harrison County, Mississippi, et al.
U. S. District Court, Southern District of Mississippi, Southern Division
Civil Action No. 1:07cv541
Our File No. 1811.0108

Dear Michael:

In our Requests for Production of Documents which were propounded to you on October 15,
2007, we requested the Plaintiff to execute the following:

1. Request for Copy of Tax Return,

2. Request for Social Security Earnings Information,

3. Authorization for release of employment records, and
4 Authorization for health information.

Iam enclosing herewith additional copies of same. Please have your client execute same and
return to our office within the next five calendar days.

Sincerely,

DUKES, DUKES, KEATING & FANECA, P.A.

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C eca
CTF:lh

Enclosures EXHIBIT

oan

cc:

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John Whitfield

Jim Davis

Karen Young
George Hembree, III

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AUTHORIZATION TO USE OR DISCLOSE PROTECTED HEALTH INFORMATION

| hereby authorize to use or disclose the following protected
health information (PHI) from the medical records of the patient listed below to:
Requestor Name: Dukes, Dukes, Keating and Faneca, P.A.

P.O. Drawer W

Gulfport, MS 39502

Patient Name: Roderick Miller
Patient DOB:
Patient Social Security Number:
Patient Address:

Disclose the following PHI for treatment dates _

sAbstract/Pertinent BHistory and Physical Physician Orders wEntire Chart

s&Operative Report &Progress Notes X-ray &Billing
BER Report @Lab &Consult
sOther specified sDischarge Summary Nurse Notes

sOther Specified: All other such records in your possession, custody or control.

The above information is disclosed for the following purposes:
OMedical Care sLegal Olnsurance OPersonal oOther

| acknowledge, and hereby consent to such, that the release of information may contain alcohol
initials and drug abuse, psychiatric, HIV or genetic ‘information

This authorization shall expire upon this expiration date: final disposition of Roderick Mille
Harrisa ieriff’s Department, et. al or five (5) years from the date of this authorization,
whichever comes first

“If | fail to specify an expiration date or event, this authorization will expire six (6) months from the
date on which it was signed.

* ! understand that | have the right to revoke this authorizatio
do so in writing and present the written revocation to

. | understand that | must

| understand that the revocation will not apply to information that has already
been released to this authorization.

* The information used or disclosed pursuant to the authorization may be subject to redisclosure by
the recipient and no longer protected.

| have read the above and authorize the disclosure of the protected health information as stated. If! do
not sign this form, my health care and the payment for my health care will not be affected unless stated
otherwise.

Signature of Patient/Legal Representative Date

if signed by legal representative, relationship to patient:

Signature of Witness Date
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AUTHORIZATION FOR RELEASE OF PSYCHOTHERAPY NOTES
Name: Roderick Miller
Date of birth:
Social Security Number:
I hereby authorize all health care providers, physicians, hospitals, clinics and institutions, medical facilities, mental health clinics,

mental health hospitals, pharmacies, Social Security Administration Disability Determination Services and Department of Workers’
Claims, to release all psychotherapy note records and information regarding , to the records service of

I understand that this authorization is for release of psychotherapy notes as defined by the Health Insurance Portability and
Accountability Act 45 CFR 164.501 [psychotherapy notes means notes recorded (in any medium) by a health care provider who is a mental
health professional documenting or analyzing the contents of conversation during a private counseling session or a group, joint, or family
counseling session and that are separated from the rest of the individual's record].

I, the undersigned individual am on notice that:

1. Initiating this request for disclosure of protected health information, and any disclosure of the same pursuant hereto
is at the request of the individual.

2. Any health care provider disclosing the above requested information may not condition treatment, payment,
enrollment or eligibility for benefits on whether the individual signs this authorization.

3. This authorization can be revoked through written notice to

, or to the individual above listed entities, except to the extent that
action has been taken in reliance on this authorization. The undersigned i is aware of the potential that protected health information
disclosed pursuant to this authorization is subject to re-disclosure in a manner that will not be protected by HIPAA regulations.

4, A photocopy of this authorization shall be considered as effective and valid as the original, and this
authorization will remain in effect until settlement or final disposition of vs.
or five (5) years from the date of this authorization, whichever comes later.

I have carefully read and understand the above, and do herein expressly and voluntarily authorize the disclosure of the above
information about, or medical records of, my condition to those persons or agencies listed above.

Date:

(Signature) Patient or Patient Representative

Printed Name of Patient's Representative Relationship to Patient

Description of Representative's Authority to Act for the Patient

This authorization is designed to be in compliance with the Health Insurance Portability and Accountability Act ("HIPAA") 45
CFR Parts 160 and 164.

*Psychotherapy notes excludes medication prescription and monitoring, counseling session start and stop times, the modalities and
frequencies of treatment furnished, results of clinical tests, and any summary of the following items: diagnosis, functional status, the
treatment plan, symptoms, prognosis, and progress date.
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EMPLOYMENT AUTHORIZATION

TO WHOM !T MAY CONCERN:

This authorizes any employer by whom [| have been employed or sought
employment, any labor union of which | am or have been a member, and any state or
federal employment agency or commission, to furnish full and complete information hereby
requested to the law offices of Dukes, Dukes, Keating and Faneca, P.A., or to any
representative, attorney, or investigator from said office, including all employment
information, employment applications, personnel files, information pertaining to my wages,
and other related matters.

| hereby agree that a copy of this authorization form shall have the same force and
effect as the original thereof.

Your full cooperation with the said attorneys is requested. You are further requested
to disclose no information to any other person without written authority to do so.

ALL PRIOR AUTHORIZATION IS HEREBY CANCELED.

Roderick Miller

Social Security Number:

Date of Birth:

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Request for Copy of Tax Return

> Do not sign this form unless all applicable lines have been completed.
Read the instructions on page 2.

om 4906

OMB No. 1545-0429

(Rew. Aor 2009) R b ed if the f I ed
>» Request may be rejected if the form is incomplete, illegible, or any requir
Department of the Treas y line was biank at the time of signature.

Tip: You may be able to get your tax retum or return information from other sources. If you had your tax return completed by a paid preparer, they
should be able to provide you a copy of the retum. The IRS can provide a Tax Retum Transcript for many returns free of charge. The transcript
provides most of the line entries from the tax return and usually contains the information that a third party (such as a mortgage company) requires.
See Form 4506-T, Request for Transcript of Tax Retum, or you can call 1-800-829-1040 to order a transcript.

1b First social security number on tax return or
employer identification number (see instructions)

1a Name shown on tax return. If a joint retum, enter the name shown first.

2a_ [fa joint return, enter spouse’s name shown on tax retum - 2b Second social security number if joint tax return

3 Current name, address (including apt., room, or suite no.), city, state, and ZIP code

4 Previous address shown on the last retum filed if different from line 3

5 If the tax return is to be mailed to a third party (such as a mortgage company), enter the third party's name, address, and telephone

ber. The IRS h trol over what the third d ith the tax return.
cy Faneca, Dukes. Dukes Keating & Faneca , PA, P.O. Drawer W, Gulfport, MS 39502

Telephone: 228-868-1111

Caution: /f a third party requires you to complete Form 4506, do not sign Form 4506 if lines 6 and 7 are blank.

6 Tax return requested (Form 1040, 1120, 941, etc.) and alf attachments as originally submitted to the IRS, including Form(s) W-2,
schedules, or amended retums. Copies of Forms 1040, 1040A, and 1040EZ are generally available for 7 years from filing before they are
destroyed by law. Other retums may be available for a longer period.of time. Enter only one retum number. If you need more than one
type of retum, you must complete another Form 4506. > 1040
Note. if the copies must be certified for court or administrative proceedings, checkhere.. . . . . - + - C)

7 Year or period requested. Enter the ending date of the year or period, using the mmV/dd/yyyy format. If you are requesting more than
eight years or periods, you must attach another Form 4506.

12 4 317 02. 12 ,31 ,03 12 ,31 ,04 12 , 31 ,05
12 / 31 / 06 / / / / / /
8 Fee. There is a $39 fee for each retum requested. Full payment must be included with your request or it
will be rejected. Make your check or money order payable to “United States Treasury.” Enter your SSN
or EIN and “Form 4506 request” on your check or money order.
a Cost for each return ee ee ee ee ke kk ee $ 39.00
b Number of retums requested onfine7 2 6. | fk kk ek kk kk ew ke
c Total cost, Multiply fine 8abyline 8 . 2... Ow. - 2. . es -.. . 4$

9 __ if we cannot find the tax retum, we will refund the fee. if the refund should go to the third party fisted on fine 5, check here C
Signature of taxpayer{s). | declare that I am either the taxpayer whose name is shown on line 1a or 2a, or a person authorized to obtain the tax
fetum requested. if the request applies to a joint return, either husband or wife must sign. If signed by a corporate officer, partner, guardian, tax
matters partner, executor, receiver, administrator, trustee, or party other than the taxpayer, | certify that | have the authority to execute
Form 4506 on behalf of the taxpayer.

Telephone number of taxpayer on
line 1a or 2a
> | ( )
. Signature (see instructions) Date
‘Sign ’
Here » - — -
Titte (if ine 1a above is a corporation, partnership, estate, or trust)
» Spouse's signature - Date

For Privacy Act and Paperwork Reduction Act Notice, see page 2.

“Cat. No. 41721E © Form 4506. Rev. 4-2006)
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REQUEST FOR SOCIAL SECURITY EARNINGS INFORMATION

1. From whose record do you need the earnings information?

Print the Name, Social Security Number (SSN), and date of birth below.

Social Security

Name Number
Other Name(s) Used Date of Birth
(Include Maiden Name) (Mo/Day/Yr)

2. What kind of information do you need?

[] Detailed Earnings information For the period(s)/year(s):

(If you check this block, tell us below
why you need this information.}

(] Certified Total Earnings For Each Year. For the year(s):

(Check this box only if you want the information
certified. Otherwise, call 1-800-772-1213 to
request Form SSA-7004, Request for Earnings
and Benefit Estimate Statement)

3. If you owe us a fee for this detailed earnings information, enter the amount due

using the. chart on page3 .... 2.2... . eee A. $
Do you want us to certify the information? {] Yes [J No

if yes, enter $15.00 te ee ee ee ee B. $

ADD the amounts on lines A and B, and
enter the TOTAL amount... .........0020 0.000000 eee eee Cc. $

* You can pay by CREDIT CARD by completing and returning the form on page 4, or

¢ Send your CHECK or MONEY ORDER for the amount on line C with the request
and make check or money order payble to "Social Security Administration"

e DO NOT SEND CASH.

4. | am the individual to whom the record pertains (or a person who is authorized to sign on behalf of that
individual). | understand that any false representation to knowingly and willfully obtain information from
Social Security records is punishable by a fine of not more than $5,000 or one year in prison.

SIGN your name here
(Do not print) > Date

Daytime Phone Number

{Area Code) (Telephone Number)

5. Tell us where you want the information sent. (Please print)

Name Address

City, State & Zip Code

6. Mail Completed Form(s) To: Exception: If using private contractor (e.g., FedEx) to mail form(s), use:
Social Security Administration Social Security Administration
Division of Earnings Record Operations Division of Earnings Record Operations
P.O. Box 33003 300 N. Greene St.
Baltimore Maryland 21290-3003 Baltimore Maryland 21290-0300

Form SSA-7050-F4 (1-2004) EF (01-2004) 2
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LAW OFFICES OF

Dukes, DUKES, KEATING & FANECA, P.A.

2908 13" Gracet, Sixth Froce
Gutrport, Misstssipri 39501

WILLIAM F, DUKES,

WALTER W. OUKES

HUGH One (1947 - 2003)
GY
. : B, O. DRAWER W
We EDWARD HATTEN GULFPORT, MS 39502
TRACE 0.MCRANEY
TELEPHONE

BOBBY R. LONG 228-660-1114

JE'NELL @. BLUM" 228-863-2885

DAVID N. OUHE
AN ERO es February 22, 2008
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VIA FACSIMILE - (865-0337) and U.S. Mail

Michael Crosby, Esq.

2111 25" Avenue

Gulfport, MS 39501

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AWN

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